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CMIECF-GA Northern District Court
                                                                          1 1 of 1




                  UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION

                                  2: 13-cr-00037-RWS-JCF
                                      USA    v.   Kleinsmith
                                Honorable Richard W. Story




                 Minute Sheet for proceedings held In Open Court on 03/07/2016.


     TIME COURT COMMENCED: 10:05 A.M.
     TIME COURT CONCLUDED: 10:35 A.M.               COURT REPORTER: Amanda Lohnaas
     TIME IN COURT: 00:30                           DEPUTY CLERK: Rick Goss
     OFFICE LOCATION: Atlanta


DEFENDANT(S):         [1]Matthew Kleinsmith Present at proceedings
ATTORNEY(S)          Neil Taylor representing Matthew Kleinsmith
PRESENT:             **Mary Jane Stewart representing USA
PROCEEDING
                     Sentencing Hearing(Sentencing Hearing Non-evidentiary);
CATEGORY:
MINUTE TEXT:         Sentence: 5 years probation. Restitution: Joint and several for
                     $2,048,163.00 to Ordner Construction Co., $500,000.00 each to D.D
                     & D.S. Court waived the fine. No sentence objections.




https://ecf.gand.circll.dcn/cgi-bin/GANDc_mkmin.pl?687573900067977-L_830_4-1             3/7/2016
